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 8                          UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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      LEHMAN BROTHERS HOLDINGS                      Case No. CV16-03167 JAK (PJWx)
11    INC.
12                            Plaintiff,            ORDER RE STIPULATION TO
                                                    STAY LITIGATION AND
13          vs.                                     ADMINISTRATIVELY CLOSE
                                                    CASE
14    GUS CAFCALAS (aka Constantine
      Cafcalas), SARAH GROSSMAN, YOO                 JS-6: Stayed / Inactive Calendar
15    JOO LEE, HELEN CHOI, SAL SI
      PUEDES DE ESTA, SA DE CV, and
16    MAZ CALL, SA DE CV
17                            Defendants,
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           Based on a review of the “Stipulation to Stay Litigation and to Administratively
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     Close Case,” entered by Lehman Brothers Holdings Inc. (“Plaintiff”) and Defendants
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     Yoo Joo Lee and Helen Choi (“Defendants”) (Dkt. 92 (the “Stipulation”)), and certain
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     good cause appearing, it is hereby ordered that:
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           1.     The Stipulation is GRANTED, and the order proposed through the
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     Stipulation is entered as modified by this Order.
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           2.     This matter is stayed pending the resolution of the adversary proceeding
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     pending before the United States Bankruptcy Court for the Southern District of New
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     York (the “Bankruptcy Action”) that is described in the Stipulation. While the stay is
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     in place, on the earlier of every 45 days or 1within 10 days of such a resolution, the
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 1 parties shall file a joint report regarding the status of the Bankruptcy Action and any
 2 other matter(s) that would affect the stay in this action. The first report shall be filed
 3 no later than August 24, 2018.
 4         3.     This matter is placed on the Court’s inactive calendar and is
 5 administratively closed.
 6         4.     Because the matter is stayed pending resolution of the adversary
 7 proceeding in the Bankruptcy Action, Plaintiff’s Motion for Leave to Amend
 8 Complaint (Dkt. 82) is MOOT. This determination is without prejudice to Plaintiff’s
 9 ability to seek to renew its motion, and to seek leave to file an amended complaint, if
10 the stay of this action is lifted.
11   IT IS SO ORDERED.
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13 Dated: July 10, 2018                              _______________________________
14                                                   JOHN A. KRONSTADT
                                                     UNITED STATES DISTRICT JUDGE
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